 1 Mark E. Ellis - 127159
     Omid Shabani - 267447
 2 ELLIS LAW GROUP LLP
     1425 River Park Drive, Suite 400
 3 Sacramento, CA 95815
     Tel: (916) 283-8820
 4 Fax: (916) 283-8821
     mellis@ellislawgrp.com
 5 oshabani@ellislawgrp.com

 6 Attorneys for Plaintiff DIGITAL MEDIA SOLUTIONS, LLC

 7

 8                                                              UNITED STATES DISTRICT COURT
 9                                                       SOUTHERN DISTRICT OF CALIFORNIA
10

11   DIGITAL MEDIA SOLUTIONS, LLC,                                                                                         Case No.: 22CV01184 JLS-AHG
12            Plaintiff,                                                                                                   JOINT DISCOVERY MOTION
                                                                                                                           REGARDING PLAINTIFF’S
13   v.                                                                                                                    REQUEST FOR JURISDICTIONAL
                                                                                                                           DISCOVERY
14   ZEETOGROUP, LLC,
                                                                                                                           [Before Magistrate Judge Allison H.
15            Defendant.                                                                                                   Goddard]
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          JOINT DISCOVERY MOTION REGARDING PLAINTIFF’S REQUEST FOR JURISDICTIONAL DISCOVERY
                                                                       CASE NO: 22CV01184 JLS-AHG
 1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         Plaintiff, Digital Medial Solutions, LLC (“Plaintiff” or “Digital Media Solutions”)
 3 will and hereby does move the Court for an Order allowing Jurisdictional Discovery, by

 4 filing the instant Joint Discovery Motion Regarding Plaintiff’s Request for Jurisdictional

 5 Discovery (hereinafter, “Joint Motion”), pursuant to the Court’s Order, issued after

 6 conducting the Discovery Conference on November 9, 2022. ECF. Nos. 19 – 21.

 7         Plaintiff Digital Media Solutions requests that the Court grant its request for
 8 jurisdictional discovery, by allowing it to take the deposition of Stephan Goss.

 9           PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES
10 A.      FACTUAL BACKGROUND AND PROCEDURAL HISTORY
11         Plaintiff seeks to depose Stephan Goss (“Goss”), CEO of ZeetoGroup, LLC
12 (“Defendant” or “Zeeto”), to obtain jurisdictional discovery to aid it in establishing

13 diversity jurisdiction. ECF. No. 21, p. 2:5-8. Zeeto opposes jurisdictional discovery. Id.

14         On 8/12/22, Digital Media Solutions initiated the instant action. ECF. No. 1. Zeeto
15 answered on 9/7 and moved for summary judgment on 9/13. ECF. Nos. 4 & 6.

16         On 11/15/22, the Court issued an order to Plaintiff to Show Cause as to Subject-
17 Matter Jurisdiction. ECF No. 7. Briefings from both parties ensued. ECF Nos. 8 & 9.

18         In its “Reply” evidence, Zeeto claimed that Goss is a “stateless citizen” and
19 therefore, the Court allegedly lacked diversity jurisdiction. See ECF No. 9, passim. & ECF.

20 No. 9-1 (Declaration of Shayne Cardwell (“Cardwell Decl.”) ¶¶ 2-3.) This is an argument

21 put forward by Zeeto’s Chief Revenue Officer, Mr. Cardwell, not Mr. Goss. While Goss

22 filed a declaration in this case (to support summary judgment), he failed to put forth any

23 evidence as to (1) his citizenship, or (2) intent to return to the forum state. ECF. No. 6-2.

24         On November 2, 2022, the Court issued an Order, inter alia, Dismissing Case
25 Without Prejudice For Lack of Subject-Matter Jurisdiction. ECF No. 18 (emphasis added).

26 The Court denied Zeeto’s motion for summary judgment as moot. Id. The Court noted that
27 “[i]n the absence of evidence showing Mr. Goss’s intent to remain in Dubai, the Court

28 cannot accurately determine his citizenship.” ECF. No. 18, p. 8:24-25. As such, Plaintiff
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        JOINT DISCOVERY MOTION REGARDING PLAINTIFF’S REQUEST FOR JURISDICTIONAL DISCOVERY
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 1 immediately noticed the deposition of Stephan Goss. See Declaration of Omid Shabani

 2 (“Shabani Decl.”) ¶ 2, Exhibit (“Exh.”) 1.

 3         Counsel for the parties met and conferred as to jurisdictional discovery and
 4 deposition of Mr. Goss. Shabani Decl. ¶ 3. The email chain memorializing the parties’ meet

 5 and confer is filed concurrently herewith. Id. ¶ 4, Exh. 2. During the meet and confer,

 6 Plaintiff agreed to limit the scope of deposition of Mr. Goss to jurisdictional matters,

 7 without waiving any rights to depose Goss as to the merits of the matter, at a later stage.

 8 Id. ¶ 5. Despite Plaintiff’s good faith meet and confer, Defendant took the untenable

 9 position that Goss would not submit to any discovery, arguing the case is dismissed. Id.
10         On November 8, 2022, Defendant served its objections to notice of deposition of
11 Stephan Goss, taking the position that “Mr. Goss will not appear absent a Court order

12 compelling his appearance …” Shabani Decl., ¶ 6, Exh. 3 (emphasis added).

13         On November 9, 2022, at Plaintiff’s request, the Honorable Magistrate Judge Allison
14 H. Goddard held a Discovery Conference, wherein the Court issued an Order setting

15 briefing schedule for the instant Joint Motion. ECF. Nos. 19 – 21.

16         Pursuant to the Court’s Order, Plaintiff brings this Joint Motion and moves the Court
17 to permit jurisdictional discovery, including, but not limited to, deposition of Stephan Goss.

18 B.      LEGAL STANDARD
19         1.               “Stateless” Alien
20         A U.S. citizen who lives abroad permanently is not a “citizen of a State” for diversity
21 purposes. Phillips & Stevenson, Practice Guide: Federal Civil Procedure Before Trial,

22 Calif. & 9th Cir. Editions, Ch. 2C-2; § 2:1162 (Rutter Group 2022). A “stateless citizen”

23 cannot sue or be sued in federal court on the basis of diversity jurisdiction. Louisiana Mun.

24 Police Employees' Retirement System v. Wynn, 829 F3d 1048, 1056-1057 (9th Cir. 2016).

25         2.               Domicile vs. Residence
26         A person's domicile is the place he or she resides with the intention to remain or to
27 which he or she intends to return. Phillips & Stevenson, supra, Ch. 2C-3, § 2:1213

28 (emphasis in original). A person residing in a given state is not necessarily domiciled there
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        JOINT DISCOVERY MOTION REGARDING PLAINTIFF’S REQUEST FOR JURISDICTIONAL DISCOVERY
                                                                     CASE NO: 22CV01184 JLS-AHG
 1 and thus is not necessarily a citizen of that state. Mississippi Band of Choctaw Indians v.

 2 Holyfield, 490 U.S. 30, 48 (1989) (domicile for adults established by physical presence and

 3 intention to remain); Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001).

 4        3.                JURISDICTIONAL DISCOVERY
 5        Generally, a plaintiff may be permitted limited discovery where defendant contests
 6 jurisdiction. See Boschetto v. Hansing, 539 F.3d 1011, 1020 (9th Cir. 2008); Natural

 7 Resources Defense Council v. Pena, 147 F.3d 1012, 1024 (DC Cir. 1998) (jurisdictional

 8 discovery should be permitted when allegations indicate its “likely utility.”)

 9        Discovery “may be appropriately granted where pertinent facts bearing on the
10 question of jurisdiction are controverted or where a more satisfactory showing of the facts

11 is necessary.” Twentieth Century Fox Intern. Corp. v. Scriba, 385 Fed.Appx. 651, 652 (9th

12 Cir. 2010) (holding that district court abused its discretion in denying discovery on

13 jurisdictional facts) citing Boschetto, supra, 539 F.3d at 1020.

14        The threshold for granting jurisdictional discovery is low. See Harris Rutsky & Co.
15 Ins. Servs., Inc. v. Bell & Clements Ltd., 328 F.3d 1122, 1135 (9th Cir. 2003) (concluding

16 that the district court abused its discretion in denying motion for jurisdictional discovery,

17 and that a remand will be necessary to allow the opportunity to develop the record and

18 make a prima facie showing of jurisdictional facts.)

19        The Ninth Circuit has adopted a liberal standard for granting jurisdictional
20 discovery, noting that it should “ordinarily be granted where pertinent facts bearing on the

21 question of jurisdiction are controverted or where a more satisfactory showing of the facts

22 is necessary.” Butcher’s Union Local No. 498, United Food & Commercial Workers v.

23 SDC Inv., Inc., 788 F.2d 535, 540 (9th Cir. 1986). Normally, a “colorable basis” for

24 claiming jurisdiction must be established before jurisdictional discovery will be granted.

25 Phillips & Stevenson, supra, Ch. 2C-3, § 11:527.11. “Colorable” means “something less

26 than a prima facie showing, and could be equated as requiring the plaintiff to come forward
27 with ‘some evidence’ tending to establish personal jurisdiction over the defendant.” Id.;

28 Mitan v. Feeney, 497 F.Supp.2d 1113, 1119 (C.D. CA 2007).
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       JOINT DISCOVERY MOTION REGARDING PLAINTIFF’S REQUEST FOR JURISDICTIONAL DISCOVERY
                                                                    CASE NO: 22CV01184 JLS-AHG
 1         “It is clear that the question of whether to allow discovery is generally within the
 2 discretion of the trial judge. However, where pertinent facts bearing on the question of

 3 jurisdiction are in dispute, discovery should be allowed.” Orchid Biosciences, Inc. v. St.

 4 Louis University, 198 F.R.D. 670, 672–673 (S.D. Cal. 2001) citing America West Airlines,

 5 Inc. v. GPA Group, Ltd., 877 F.2d 793, 801 (9th Cir. 1989); See also Wells Fargo & Co.

 6 v. Wells Fargo Express Co., 556 F.2d 406 (9th Cir. 1977) (finding that “[d]iscovery ...

 7 ‘should be granted where pertinent facts bearing on the question of jurisdiction are

 8 controverted ... or where a more satisfactory showing of the facts is necessary.’”) Id. at

 9 430, fn. 24; Data Disc, Inc. v. Systems Technology Associates, Inc., 557 F.2d 1280, 1285,
10 fn. 1 (9th Cir. 1977) (same).

11         In at least once case, the Southern District of California has ruled that a plaintiff is
12 not obligated to make out a “prima facie” case of personal jurisdiction before it can obtain

13 limited jurisdictional discovery, because “[i]t would ... be counterintuitive to require a

14 plaintiff, prior to conducting discovery, to meet the same burden that would be required to

15 defeat a motion to dismiss.” Orchid Biosciences, Inc., supra, 198 F.R.D. at 672–73

16 (emphasis in original); see also, eMag Solutions, LLC v. Toda Kogyo Corp., 2006 WL

17 3783548, at *2 (N.D. Cal., Dec. 21, 2006, No. C 02-1611 PJH).

18 C.      ARGUMENT
19         The Court should grant Digital Media Solutions’ request for jurisdictional discovery
20 to depose Mr. Goss, because Defendant has contested diversity jurisdiction and this

21 deposition is likely to yield relevant jurisdictional facts.

22         “Here, whether the Court can exercise diversity jurisdiction over the case ultimately
23 depends on Mr. Goss’s citizenship …” See, ECF No. 18, p. 7:6-7.

24         The Court noted that Defendant provided “weak evidence regarding the domicile of
25 Mr. Goss. Defendant claims that Mr. Goss ‘resides in Dubai’ and is therefore a diversity-

26 destroying ‘stateless alien.’ Reply at 3. But Defendant does not state how long Mr. Goss
27 has been living in Dubai or whether he intends to remain there.” ECF No. 18, p. 8:8-11.

28 The Court concluded that “[i]n the absence of evidence showing Mr. Goss’s intent to
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        JOINT DISCOVERY MOTION REGARDING PLAINTIFF’S REQUEST FOR JURISDICTIONAL DISCOVERY
                                                                     CASE NO: 22CV01184 JLS-AHG
 1 remain in Dubai, the Court cannot accurately determine his citizenship.” Id., p. 8:24-25.

 2         Generally, a plaintiff may be permitted limited discovery where defendant contests
 3 jurisdiction. See Boschetto, supra, 539 F.3d at 1020; Natural Resources Defense Council,

 4 supra, 147 F.3d at 1024 (jurisdictional discovery should be permitted when allegations

 5 indicate its “likely utility.”)

 6         In this case, Digital Media Solutions has stipulated to limit the deposition of Mr.
 7 Goss to jurisdictional matters, without waiving its right to depose Mr. Goss as to the merits

 8 at a later stage. Shabani Decl. ¶ 5. Therefore, Defendant will not be prejudiced by a limited

 9 deposition of Mr. Goss, while, on the other hand, permitting Goss’s deposition will enable
10 the Court to rule on a fully developed record. Twentieth Century Fox Intern. Corp., supra,

11 385 Fed.Appx. at 652; Harris Rutsky & Co. Ins. Servs., Inc., supra, 328 F.3d at 1135.

12 Similarly, not allowing deposition of Goss will prejudice Plaintiff, by causing dismissal.

13         Specifically, jurisdictional discovery is appropriate in this case, because: (1)
14 Defendant has contested jurisdiction, See Boschetto, supra, 539 F.3d at 1020; Natural

15 Resources Defense Council, supra, 147 F.3d at 1024; (2) Defendant has produced weak

16 evidence of Mr. Goss’ intent to remain in Dubai, ECF No. 18, p. 8:8-25; (3) Deposition of

17 Goss is likely to yield relevant jurisdictional facts as to Goss’s intent, Mitan, supra, 497

18 F.Supp.2d at 1119; (4) Deposition of Goss will yield facts related to his indicia of

19 residency; See ECF 18, p. 4:7-14; Lew v. Moss, 797 F.2d 747, 750 (9th Cir. 1986); and (5)

20 Deposition of Goss is likely to yield facts establishing Goss’s last known domicile, thus

21 creating a rebuttable presumption that Goss’s domicile remains in California, “unless

22 rebutted by sufficient evidence of change.” ECF No. 18, p. 4:14-17; Buscher v. Edelman,

23 no. CV209680JVSASDX, 2021 WL 969208, at *4 (C.D. Cal. Mar. 4, 2021).

24 D.      CONCLUSION
25         Based on the foregoing, Plaintiff Digital Media Solutions respectfully requests that
26 the Court allow jurisdictional discovery by way of deposition of Mr. Goss, because the
27 allegations in this case indicate “likely utility” of taking Goss’s deposition in establishing

28 jurisdictional facts. Natural Resources Defense Council, supra, 147 F.3d at 1024.
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        JOINT DISCOVERY MOTION REGARDING PLAINTIFF’S REQUEST FOR JURISDICTIONAL DISCOVERY
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 2                                                                        DEFENDANT’S RESPONSE
 3         Per this Court’s suggestion, ZeetoGroup, LLC (“Zeeto”) has offered a short
 4 deposition or declaration discussing the jurisdictional dispute in lieu of further motion

 5 practice. This offer was rejected by Digital Media Solution’s counsel without

 6 explanation on November 21, 2022. Zeeto requests that a simple declaration be ordered

 7 describing Mr. Goss’s location and intents. In the alternative, Zeeto requests the

 8 deposition be limited to a one hour maximum as the issues which Digital Media Solutions

 9 wishes to discover does not require in-depth discovery.
10

11
     Dated: November 22, 2022
12                                                                                                  ELLIS LAW GROUP LLP
13
                                                                                                    By: /s/ Omid Shabani
14                                                                                                      Omid Shabani
                                                                                                        Attorney for Plaintiff
15                                                                                                      DIGITAL MEDIA SOLUTIONS, LLC
16 Dated: November 22, 2022
                                                                                                    PHG Law Group
17

18                                                                                                  By: /s/ Jacob Gillick
                                                                                                        Jacob Gillick
19                                                                                                      Attorney for Plaintiff
                                                                                                        ZEETOGROUP, LLC
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        JOINT DISCOVERY MOTION REGARDING PLAINTIFF’S REQUEST FOR JURISDICTIONAL DISCOVERY
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